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AO 98 (Rev. 12/11) Appearance Bond


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                                           UNITED STATES DISTRICT COURT
                                                                          for the
                                                              Western District of Texas
                          United States of America                           )
                                     v.                                      )
                          DONALD RAY LOCKARD                                 )       Case No. DR-20-CR-1286 (1)
                                                                             )
                                   Defendant                                 )

                                                               APPEARANCE BOND

                                                               Defendant's Agreement
I,                 DONALD RAY LOCKARD                           (defendant), agree to follow every order of this court, or any
court that considers this case, and I further agree that this bond may be forfeited if I fail:
             ( X )       to appear for court proceedings;
             ( X )       if convicted, to surrender to serve a sentence that the court may impose; or
             ( x ) to comply with all conditions set forth in the Order Setting Conditions of Release.
                                                                     Type of Bond
(        ) (1) This is a personal recognizance bond.

(    X   )   (2) This is an unsecured bond of$             50,000.00

(        ) (3) This is a secured bond          of $                                         secured by:

             (       )   (a)$                               in cash deposited with the court.

             (   X   ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
                       (describe the cash or other property, including claims on it such as a lien, mortgage, or loan and attach proof of
                       ownership and value):
                         $50,000

                         If this bond is secured by real property, documents to protect the secured interest may be filed of record.

             (       ) (c) a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and identfy the surety):




                                                        Forfeiture or Release of the Bond
Forfeiture of the Bond.   This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.
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AO 98 (Rev. 12/11) Appearance Bond



Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

                                                             Declarations

Ownershiip of the Properly. I, the defendant          and each surety declare under penalty of perjury that:
         (1)       all owners of the property securing this appearance bond are included on the bond;
         (2)       the property is not subject to claims, except as described above; and
         (3)       I will not sell the property, allow further claims to be made against it, or do anything to reduce its value
                   while this appearance bond is in effect.

Acceptance. I, the defendant and each surety have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. I agree to this Appearance Bond.



I, the defendant    and each surety declare under penalty of perjury that this information is true. (See 28 U.S.C.           §   1746.)


Date:     08/27/2020                                           (IIIe
                                                                                  1       Defendant's signature


                     Renea Ruth         ea
               Surety/property owner   printed name                             Surety/property owner   signature and date



               Surety/property owner printed name                              Surety/property owner signature and date



               Surety/property owner printed name                              Surety/property owner signature and date




Date:


Approved.
          08/27/2020
                                                                   CLERK OF

                                                                                                               (,,
Date:     08/27/2020
